                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
              v.                                   )       No. 3:12-00018-5
                                                   )       Judge Trauger
CANISHA DENISE ALRED,                              )
                                                   )
                      Defendant.                   )

      ORDER OF FORFEITURE CONSISTING OF $519,002.64 UNITED STATES
                    CURRENCY MONEY JUDGMENTS

       IT IS HEREBY ORDERED THAT:

       1.     As the result of the Court’s acceptance of the Defendant Canisha Denise Alred’s

guilty plea as to Counts Three and Thirteen of the Indictment, for which the Government sought

forfeiture, Defendant Canisha Denise Alred shall forfeit to the United States her interest in

$519,002.64 United States currency and substitute assets if such currency could not be located

(hereinafter collectively referred to as “Subject Property”). Said $519,002.64 United States

currency is proceeds from the offense(s) of which Defendant was convicted and is forfeitable

pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982 and 28 U.S.C. § 2461(c).

       2.     The Court has determined, based on relevant and reliable evidence, including

facts already in the record, the written plea petition, plea agreement dated September 24, 2012,

and any additional evidence or information submitted by the parties, including the factual basis

agreed to between the United States and Defendant Canisha Denise Alred at paragraph 8, pages 4

through 7 and related paragraphs 24 through 30 of the Plea Agreement, and the facts set forth at

the plea colloquy on September 24, 2012 that the Subject Property is subject to forfeiture

pursuant to 18 U.S.C. §§ 982 and 981and 28 U.S.C. § 2461, and that the Government has




 Case 3:12-cr-00018        Document 184       Filed 03/21/13     Page 1 of 3 PageID #: 600
established the requisite nexus between the $519,002.64 United States currency and the offense

of conviction.

       3.        Upon the entry of this Order, the Attorney General (or his designee) and/or the

Secretary of the Treasury (or his designee) is authorized to seize the Subject Property and to

conduct any discovery proper in identifying, locating or disposing of the property subject to

forfeiture in accordance with Fed. R. Crim. P. 32.2 (b)(3).

       4.        Pursuant to 21 U.S.C. § 853, Defendant shall forfeit to the United States the sum

of $519,002.64 United States currency and, by virtue of this Order, personal Money Judgments

in that amount shall enter against Defendant as to Counts Three and Thirteen. Pursuant to Fed.

R. Crim. P. 32.2(b)(3), this Order of Forfeiture consisting of $519,002.64 Money Judgments

shall become final as to Defendant at the time of sentencing, or before sentencing if Defendant

consents, and shall be made part of the sentence and included in the Judgment. Pursuant to Rule

32.2(c)(1) “no ancillary proceeding is required to the extent that the forfeiture consists of a

money judgment.”

       5.          Neither the United States through the exercise of due diligence or Defendant

have, as of this date, identified specific assets that were derived from the $519,002.64 in

proceeds attributable to the offenses for which Defendant has been convicted. Nor has the

United States or Defendant yet identified any property of the Defendant that could be forfeited as

a substitute asset in accordance with 21 U.S.C. § 853(p). Therefore, as a result of an act or

omission of Defendant, said proceeds cannot be located upon the exercise of due diligence; have

been transferred or sold to or deposited with a third party; have been placed beyond the

jurisdiction of the court; have been substantially diminished in value; or have been co-mingled

with other property which cannot be divided without difficulty.      Therefore, the United States




 Case 3:12-cr-00018          Document 184       Filed 03/21/13     Page 2 of 3 PageID #: 601
may, at any time, move pursuant to Rule 32.2(e) to amend this Order of Forfeiture consisting of

$519,002.64 Money Judgments as to Counts Three and Thirteen to include substitute property

having a value not to exceed $519,002.64 United States currency to satisfy the Money Judgments

in whole or in part.

       6.       This Order of Forfeiture consisting of $519,002.64 Money Judgments against

Defendant Canisha Denise Alred as to Counts Three and Thirteen shall be recorded in the

records of the County Clerk's Office in the county of Defendant's residence and any and all other

counties in which Defendant has either real or personal property as a lien thereon in the amount

of $519,002.64 plus interest at the current legal rate computed daily and compounded annually

until paid in full, as determined by the United States.

       7.       Upon payment of either Money Judgment in full, the United States shall file a

satisfaction of judgments as to both money judgments with the District Court and the appropriate

clerk of the county in which any transcript or abstracts of the judgments have been filed.

       8.       This Order is in continuing and full effect until payment of the $519,002.64 is

made in full.

       9.       The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).
                                                March, 2013.
       IT IS SO ORDERED this      21st  day of December, 2012.




                                              ______________________________
                                              JUDGE ALETA A. TRAUGER
                                              UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00018         Document 184        Filed 03/21/13     Page 3 of 3 PageID #: 602
